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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

JOHN ANDREW KISTER, #264 274,               )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   ) CIVIL ACTION NO. 2:20-CV-827-WHA-SRW
                                            )
OFFICER J. ELLIS,                           )
                                            )
       Defendant.                           )

                                    ORDER ON MOTION

       Upon consideration of Plaintiff’s objection to the December 21, 2020, Recommendation

of the Magistrate Judge, considered a motion to amend the complaint, it is

       ORDERED that the Recommendation of the Magistrate Judge (Doc. 7) is WITHDRAWN.

       It is further

       ORDERED that the motion to amend complaint (Doc. 8) is GRANTED.

       DONE, this 11th day of January 2021.



                                     /s/ Susan Russ Walker
                                     UNITED STATES MAGISTRATE JUDGE
